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                                 UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF SOUTH CAROLINA
                                     CHARLESTON DIVISION
 Nautilus Insurance Company,                )
                                            )       C/A No. 2:22-cv-1307-RMG
                                 Plaintiff, )
                  Versus                    )
                                            )            DEFENDANT MOSS & KUHN, P.A.’S
 Richard Alexander Murdaugh, Sr., Cory      )           SECOND SUPPLEMENTAL PRETRIAL
 Fleming, Moss & Kuhn, P.A., Chad           )              DISCLOSURES - EXHIBIT LIST
 Westendorf, and Palmetto State Bank,       )
                                            )
                                Defendants. )

        iii.      EXHIBITS – as identification of each document or other exhibit, including
                  summaries of other evidence, separately identifying those items the party
                  expects to offer and those it may offer if the need arises:
        This Defendant reserves the right to introduce any documents that the Plaintiff produced
and those produced by any party during the course of discovery or marked at any deposition as
exhibits. This Defendant may offer the following exhibits:
 Exhibit Bates #                             Description
 #
 1             NAUTILUS_006358-006359        Email from Joel Lasky at Nautilus dated 5/2/18
 2             NAUTILUS_000287-000288        Emails between Amy Miller and John Grantland
                                             dated 11/27/18
 3             Miller/Nautilus 000550        Email from Amy Miller to John Grantland dated
                                             3/13/19
 4             Moss & Kuhn 0212              Email from John Grantland to Jon Austen and Cory
                                             Fleming dated 3/19/19
 5             NAUTILUS_006380-006382        Emails between Amy Miller and Katherine Karam
                                             dated 3/24/19
 6             PHELPS-000932-000934          Emails between Amy Killer and Katherine Karam
                                             dated 3/24/19
 7             Moss & Kuhn 0128-0130         Mediation Agreement signed 3/25/19
 8             Miller/Nautilus 00074         Email from Amy Miller to John Grantland and Jon
                                             Austen dated 3/25/19
 9             Moss & Kuhn 0218              Emails between Amy Miller and John Grantland
                                             dated 3/25/19
 10            Moss & Kuhn 0027              Email from John Grantland to Cory Fleming and
                                             copying Amy Miller dated 3/25/19
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11      Nautilus_002402-002551             Internal Nautilus communications dated 3/22/18
                                           through 3/26/19
12      NAUTILUS_006377                    Emails between Amy Miller and Joel Lasky dated
                                           3/27/19
13      CHF_00082-00085                    Letter from Cory Fleming to John Grantland dated
                                           4/11/19 with signed Release
14      Moss & Kuhn 0091-0093              Release dated 4/11/19
15      CHF_00051                          Check for $3,800,000 payable to Chad Westendorf
                                           as PR of the Satterfield Estate dated 4/18/19
16      CHF_00081                          Letter from John Grantland to Cory Fleming dated
                                           4/22/19
17      Moss & Kuhn 0020                   Emails between Cory Fleming and John Grantland’s
                                           office dated 4/25/19
18      Moss & Kuhn 0021                   Emails between John Grantland and Cory Fleming
                                           dated 5/6/19
19      Moss & Kuhn 0241-0243              Emails between John Grantland and Cory Fleming
                                           dated 5/6/19 regarding settlement approval hearing
20      Miller/Nautilus 000700-            Emails between Amy Miller and John Grantland
        000701                             dated 5/10/19
21      Moss & Kuhn 0034                   Emails between Cory Fleming and John Grantland’s
                                           office dated 5/13/19
22      M&G001935-000048                   Email from John Grantland to Amy Miller dated
                                           5/13/19
23      Moss & Kuhn 0014-0016              Letter from Cory Fleming to John Grantland dated
                                           5/13/19 with Order Approving Settlement
24      CHF_00107-00110                    Order Approving Settlement dated 5/13/19
25      Moss & Kuhn 0120-0127              Petition for Approval of Settlement dated 5/13/19
26      NAUTILUS_000683-000684             Emails between Amy Miller and John Grantland
                                           dated 5/14/19
27      M&G001960                          Email from Judge Mullen law clerk to John
                                           Grantland’s office dated 6/13/19
28      CHF_00033-00035                    Stipulation of Dismissal filed 10/5/20

     This Defendant specifically reserves the right to supplement his Exhibit List prior to trial.




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December 12, 2024                        /s/ Maryrose P. Williamson
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